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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

 

UNITED STATES OF AMERICA, 5
Plaintiff, 5
v. Civil Action No. 1:18-mj-196 (TCB)
GEORGE A. NADER, 5
Defendant.
)
ORDER

THIS MATTER comes before the Court on Defendant’s Motion to Have Access to His
Legal Defense Team (Dkt. 42). On June 19, 2019, the Court contacted counsel for both the
Government and Defendant, requesting that the Defendant provide certain supplemental
information. Upon receipt of Defendant’s supplemental memorandum, the Court ordered
Defendant to expand upon the information provided. The Court later granted Defendant’s request
to provide that information ex parte. After receiving Defendant’s ex parte submission and
discussing the matter with the U.S. Marshals Service, the Court will now rule on Defendant’s
Motion. Accordingly, it is hereby

ORDERED that Motion to Have Access to His Legal Defense Team (Dkt. 42) is
GRANTED IN PART. The Defendant may continue to have access to the attorneys Defendant
included in his supplemental filings as most of those attorneys are already on the list maintained
by the U.S. Marshals Service. The Court sees no need to expand that section of the list given that
it already includes nine (9) attorneys. It is further

ORDERED that the following individuals may visit with Defendant so long as they are
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accompanied by at least one preapproved attorney: Troy Toliver, Chantel Christian, Uchenna
Anikwe, and Dr. Fred Berlin. It is further

ORDERED that Arik Ben-Zvi shall not be given access to meet with Defendant at the
Alexandria Detention Center. It is further

ORDERED that no more than three (3) individuals may visit with Defendant at any one
time. This is a strict limit and the Court will not entertain any future motions to increase this
number. Finally,

Defendant’s counsel and other members of his legal defense team are hereby admonished
that they must always adhere to the highest levels of professionalism and treat the staff and officers
of the U.S. Marshals Service and Alexandria Detention Center with the utmost respect and
courtesy. Failure to do so may result in the violator being removed from the approved list.

ENTERED this 25th day of June, 2019.

/s/

eT eh my a
resa Carrol] Buchanan
United States Magistrate Judge

THERESA CARROLL BUCHANAN
UNITED STATES MAGISTRATE JUDGE

 

Alexandria, Virginia
